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13
14                               UNITED STATES DISTRICT COURT

15                              SOUTHERN DISTRICT OF CALIFORNIA

16     APARNA VASHISHT-ROTA, an                Case No.: 20cv0959-WQH-MSB
       individual,
17                                             DEFENDANT OTTAWA
                   Plaintiff,                  UNIVERSITY’S NOTICE OF MOTION
18
                                               AND MOTION TO DISMISS THE
             vs.                               COMPLAINT
19
20     OTTAWA UNIVERSITY,
                                               [Fed. R. Civ. Proc. Rule 12(b)(1)]
21                 Defendant.
                                               (Filed concurrently with Memorandum of
22                                             Points and Authorities and [Proposed]
                                               Order)
23
                                               Hearing Date: To Be Determined
24                                             Time: To Be Determined
25
                                               NO ORAL ARGUMENT UNLESS
26                                             REQUESTED BY THE COURT
27                                             Complaint filed:   May 26, 2020
28                                             Trial Date:        Not Set
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                                  DEFENDANT OTTAWA UNIVERSITY’S NOTICE OF MOTION
                                             AND MOTION TO DISMISS THE COMPLAINT
                                                        CASE NO. 20cv0959-WQH-MSB
     Case 3:20-cv-00959-RBM-KSC Document 18-1 Filed 07/31/20 PageID.2725 Page 2 of 3



 1     TO: ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
 2           NOTICE IS HEREBY GIVEN that on a date and time to be determined by the
 3     Court, in Courtroom 14B of the United States District Court for the Southern District of
 4     California, Defendant OTTAWA UNIVERSITY (“Defendant”) shall and hereby does
 5     bring this Motion to Dismiss the Complaint (“Complaint”) with prejudice as to the first,
 6     second, third, fourth, and fifth causes of action to Plaintiff’s Complaint against Defendant,
 7     pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure. Please be advised that
 8     per the Civil Pretrial Procedures of the Honorable William Q. Hayes, there will be no oral
 9     argument unless requested by the Court.
10           This Motion to Dismiss the Complaint is brought on the following grounds: Plaintiff
11     Aparna Vashisht-Rota (“Plaintiff” or “Vashisht-Rota”) asserts that her lawsuit against
12     Defendant Ottawa University (“Defendant” or “Ottawa”), is subject to federal court
13     jurisdiction pursuant to 28 U.S.C. § 1337(a), which provides that “district courts shall have
14     original jurisdiction of any civil action or proceeding arising under any Act of Congress
15     regulating commerce or protecting trade and commerce against restraints and
16     monopolies[.]” Plaintiff, however, fails to plead any “Act of Congress” which would confer
17     jurisdiction under 28 U.S.C. § 1337. Plaintiff has not alleged any additional basis for
18     invoking this Court’s jurisdiction, and thus, her Complaint is subject to dismissal on this
19     basis alone.
20           For purposes of argument in this Motion only, Defendant acknowledges that this
21     Court’s jurisdiction may arise from diversity jurisdiction pursuant to 28 U.S.C. § 1332.
22     However, Plaintiff cannot show that complete diversity of citizenship exists between the
23     parties because she has wholly failed to allege Defendant’s entity status or citizenship, and
24     her Complaint should be dismissed on this basis as well.
25           This Motion to Dismiss the Complaint is based upon this Notice of Motion and
26     Motion to Dismiss the Complaint, Memorandum of Points and Authorities in Support and
27     upon such other documents, evidence, and oral argument that may be made in support of
28     this Motion, as this Court may permit.
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                                  DEFENDANT OTTAWA UNIVERSITY’S NOTICE OF MOTION
                                             AND MOTION TO DISMISS THE COMPLAINT
                                                        CASE NO. 20cv0959-WQH-MSB
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 1              Defendant respectfully request that this Court grant this Motion to Dismiss the
 2     Complaint.
 3
 4     DATED: July 31, 2020                         JACKSON LEWIS P.C.
 5
 6
                                                By: /s/ Michelle K. Meek
 7                                                  Leila Nourani
                                                    Michelle K. Meek
 8
                                                    Attorneys for Defendant
 9                                                  OTTAWA UNIVERSITY
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                                  DEFENDANT OTTAWA UNIVERSITY’S NOTICE OF MOTION
                                             AND MOTION TO DISMISS THE COMPLAINT
                                                        CASE NO. 20cv0959-WQH-MSB
